    Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 1 of 10


                                                                              Pages 1 - 10

                           UNITED STATES DISTRICT COURT

                        NORTHERN DISTRICT OF CALIFORNIA

                  BEFORE THE HONORABLE WILLIAM H. ORRICK

DEMETRIC DI-AZ, OWEN DIAZ AND      )
LAMAR PATTERSON                    )
                                   )
                                   )
             Plaintiffs,           )
                                   )
  vs.                              ) No. C 17-6748 WHO
                                   )
TESLA, INC., dba TESLA MOTORS,     )
INC., CITISTAFF SOLUTIONS, INC.,   )
WEST VALLEY STAFFING GROUP,        )
CHARTWELL STAFFING SERVICES, INC., )
and DOES 1-50, inclusive,          )
                                   ) San Francisco, California
                                   ) September 27, 2021
                                   )      through
___________________________________) October 4, 2021

                 MASTER INDEX OF JURY TRIAL PROCEEDINGS

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               (APPEARANCES CONTINUED ON FOLLOWING PAGE)



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   Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 2 of 10         2


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                                       YUSUF MOHAMED, ESQ.
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                                       VALERIE CAPERS WORKMAN
                                        - Tesla, Inc.

                                          _    _     _




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                               (415) 431-1477
   Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 3 of 10        3


                                         I N D E X



Monday, September 27, 2021 - Volume 1



Tuesday, September 28, 2021 - Volume 2



Wednesday, September 29, 2021 - Volume 3



Thursday, September 30, 2021 - Volume 4



Friday, October 1, 2021 - Volume 5



Monday, October 4, 2021 - Volume 6

                                        -    -    -




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                               (415) 431-1477
   Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 4 of 10                   4


                                         I N D E X



                                                                            PAGE   VOL.

Preliminary Jury Instructions                                                10    1

Opening Statement by Mr. Alexander                                           22    1
Opening Statement by Ms. Kennedy                                             44    1


Plaintiff Rests                                                             754    5
Defense Rests                                                               811    5


Final Jury Instructions                                                     850    6


Closing Argument by Mr. Alexander                                           877    6
Closing Argument by Ms. Kennedy                                             927    6
Rebuttal Argument by Mr. Alexander                                          959    6


Concluding Jury Instructions                                                968    6

                                           - - -




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      Official Reporter - U.S. District Court - San Francisco, California
                               (415) 431-1477
   Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 5 of 10                   5


                                          I N D E X


PLAINTIFF'S WITNESSES                                                       PAGE   VOL.

KAWASAKI, TAMOTSU EDWEEN
(SWORN)                                                                      65    1
Direct Examination by Mr. Organ                                              66    1
Cross-Examination by Ms. Jeng                                               100    1
Redirect Examination by Mr. Organ                                           123    1


ROMERO, EDWARD
(SWORN)                                                                     128    1
Direct Examination by Mr. Organ                                             129    1


ROMERO, EDWARD (RECALLED)
(PREVIOUSLY SWORN)                                                          179    2
Cross-Examination by Ms. Kennedy                                            179    2
Redirect Examination by Mr. Organ                                           206    2


JACKSON, WAYNE
(SWORN)                                                                     215    2
Direct Examination by Mr. Alexander                                         216    2
Cross-Examination by Ms. Jeng                                               255    2
Redirect Examination by Mr. Alexander                                       293    2


DELGADO SMITH, JACKELIN
(SWORN)                                                                     298    2
Direct Examination by Mr. Alexander                                         298    2
Cross-Examination by Ms. Jeng                                               327    2
Redirect Examination by Mr. Alexander                                       331    2



QUINTERO, VICTOR
(SWORN)                                                                     336    2
Direct Examination by Mr. Alexander                                         336    2
Cross-Examination by Ms. Kennedy                                            357    2
Redirect Examination by Mr. Alexander                                       361    2




                    Debra L. Pas, CSR, RPR, RMR, CRR
      Official Reporter - U.S. District Court - San Francisco, California
                               (415) 431-1477
   Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 6 of 10                   6


                                       I N D E X


PLAINTIFF'S WITNESSES                                                       PAGE   VOL.

MCGINN, KEVIN
VIDEOTAPED TESTIMONY                                                        380    3


DI-AZ, DEMETRIC
VIDEOTAPED TESTIMONY                                                        381    3


DIAZ, OWEN ORAPIO
(SWORN)                                                                     383    3
Direct Examination by Mr. Organ                                             383    3


WHEELER, MICHAEL JOHN
(SWORN)                                                                     421    3
Direct Examination by Mr. Alexander                                         421    3
Cross-Examination by Ms. Jeng                                               434    3
Redirect Examination by Mr. Alexander                                       441    3
Recross-Examination by Ms. Jeng                                             443    3


DIAZ, OWEN ORAPIO (RECALLED)
(PREVIOUSLY SWORN)                                                          448    3
Direct Examination Resumed by Mr. Organ                                     449    3
Cross-Examination by Ms. Kennedy                                            486    3


DIAZ, OWEN ORAPIO (RECALLED)
(PREVIOUSLY SWORN)                                                          557    4
Cross-Examination resumed by Ms. Kennedy                                    557    4
Redirect Examination by Mr. Organ                                           574    4


READING, ANTHONY EDWARD
(SWORN)                                                                     577    4
Direct Examination by Mr. Alexander                                         577    4
Cross-Examination by Ms. Kennedy                                            596    4
Redirect Examination by Mr. Alexander                                       613    4




                    Debra L. Pas, CSR, RPR, RMR, CRR
      Official Reporter - U.S. District Court - San Francisco, California
                               (415) 431-1477
   Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 7 of 10                   7


                                      I N D E X


PLAINTIFF'S WITNESSES                                                       PAGE   VOL.

JONES, LA'DREA
(SWORN)                                                                     622    4
Direct Examination by Ms. Nunley                                            622    4
Cross-Examination by Ms. Kennedy                                            632    4


MARCONI, ERIN
VIDEOTAPED TESTIMONY                                                        638    4


OPPENHEIMER, AMY (VIA ZOOM)
(SWORN)                                                                     642    4
Direct Examination by Mr. Organ                                             643    4
Cross-Examination by Ms. Kennedy                                            660    4
Redirect Examination by Mr. Organ                                           678    4


MAHLA, CHARLES (VIA ZOOM)
(SWORN)                                                                     680    4
Direct Examination by Mr. Organ                                             680    4
Cross-Examination by Ms. Kennedy                                            685    4


HEISEN, ANNALISA
VIDEOTAPED TESTIMONY                                                        753    5


                                          -    -    -

DEFENDANT'S WITNESSES                                                       PAGE   VOL.

DELAGRANDE, JOYCE ANN
(SWORN)                                                                     710    5
Direct Examination by Ms. Kennedy                                           711    5
Cross-Examination by Mr. Organ                                              735    5
Redirect Examination by Ms. Jeng                                            750    5


MARTINEZ, RAMON
(SWORN)                                                                     755    5
Direct Examination by Ms. Kennedy                                           755    5
Cross-Examination by Mr. Alexander                                          788    5
                            _ _ _


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      Official Reporter - U.S. District Court - San Francisco, California
                               (415) 431-1477
     Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 8 of 10                          8


                                      E X H I B I T S

TRIAL EXHIBITS                                                                IDEN   EVID   VOL.

1                                                                                    459    3

2                                                                             774           5

3                                                                             253    689    4
                                                                                            2

6                                                                                    688    4

19                                                                                   393    3

31                                                                                   240    2

33                                                                                   156    1

37                                                                                    83    1

38                                                                                    78    1

39                                                                                    86    1

40                                                                                    85    1

41                                                                                   146    1

49                                                                                   269    2

62                                                                                   388    3

68                                                                                   468    3

74                                                                            237    237    2

76                                                                                   242    2

83                                                                            350    351    2

92                                                                                   233    2

103                                                                                  238    2

104                                                                                   93    1

106                                                                                  165    1

133                                                                                  797    5

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                                 (415) 431-1477
   Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 9 of 10                          9


                                    E X H I B I T S

TRIAL EXHIBITS                                                              IDEN   EVID   VOL.

200                                                                         490    491    3

202                                                                                 75    1

204                                                                         486    558    4
                                                                                          3

204                                                                         557           4

205                                                                         494    495    3

217                                                                                469    3

222                                                                                 91    1

224                                                                                471    3

235                                                                                 95    1

235                                                                                118    1

240                                                                                153    1

244                                                                                718    5

245                                                                                464    3

251                                                                                719    5

259                                                                         721    721    5

261                                                                                473    3

265                                                                         528    564    4
                                                                                          3

274                                                                                280    2

284                                                                                277    2

287                                                                                247    2

287                                                                                302    2

293                                                                                473    3

296                                                                         191    193    2

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      Official Reporter - U.S. District Court - San Francisco, California
                               (415) 431-1477
  Case 3:17-cv-06748-WHO Document 300-1 Filed 10/05/21 Page 10 of 10                          10


                                    E X H I B I T S


TRIAL EXHIBITS                                                              IDEN   EVID   VOL.

297                                                                                727    5

298                                                                                740    5

300                                                                                744    5

301                                                                                288    2

303                                                                                731    5

306                                                                                201    2

308                                                                         202    203    2

312                                                                         204    205    2

320                                                                                475    3

324                                                                                475    3

325                                                                                476    3

366                                                                                 72    1

368                                                                                222    2

379                                                                                689    4
                                          _    _     _




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